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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                                :              CHAPTER 7
                                                      :
BOBBY MANALCUS WILBANKS,                              :              CASE NO. 10-60990-WLH
KIMBERLY ANN WILBANKS                                 :
                                                      :
         Debtors.                                     :


             TRUSTEE’S MOTION TO PAY DEBTORS’ CLAIMED EXEMPTION

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy estates

(collectively, the “Bankruptcy Estate”) of Bobby Manalcus Wilbanks and Kimberly Ann Wilbanks

(collectively, “Debtors”), by and through undersigned counsel, and files Trustee’s Motion to Pay

Debtors’ Claimed Exemption (the “Motion”), and respectfully shows the Court the following:

                                     Jurisdiction and Venue

       1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409(a).

                               Background and Relief Requested

       2.       On January 12, 2010 (“Petition Date”), Debtors filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, and initiated Case No. 10-60990-WLH (the

“Bankruptcy Case”). On May 20, 2010, the Court entered an Order Discharging Chapter 7

Debtors. [Doc. No. 19]. On September 6, 2013, the Court entered an Order Discharging Debtors




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and Closing Estate. [Doc No. 51]. Barbara B. Stalzer was appointed to the Bankruptcy Case as the

interim Chapter 7 trustee on or about the Petition Date, under 11 U.S.C. § 701(a)(1).

       3.      On June 14, 2018, the United States Trustee filed a motion to reopen the Bankruptcy

Case so that an unscheduled product liability claim of Debtors related to the implant of a medical

device in Mrs. Wilbanks (the “Claim”) could be administered for the benefit of Debtors’ creditors

[Doc No. 53]. On June 18, 2018, the Court entered an order reopening the case. [Doc. No. 57].

       4.      On June 26, 2018, Trustee was appointed as successor Chapter 7 Trustee and remains

in that role. [Doc No. 59].

       5.      On March 22, 2021, the Court entered an order [Doc. No. 87] (the “Settlement

Order”) approving a settlement of the Claim (the “Settlement”).

       6.       Prior to entry of the Settlement Order, on March 2, 2021, the Court entered a consent

order [Doc. No. 83] authorizing Debtors’ claimed exemption in the Settlement in the amount of

$11,500.00 under O.C.G.A. §§ 44-13-100(a)(6) and (a)(11)(D) (the “Exemption”).

       7.      Trustee has received the funds related to the Settlement (the “Settlement Funds”).

       8.      Trustee would like to pay Debtors $11,500.00 on account of their Exemption, from

the Settlement Funds.

       9.      Trustee requests an order from the Court authorizing him to pay Debtors their

Exemption in the amount of $11,500.00.




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         WHEREFORE, Trustee requests an order from the Court authorizing him to pay Debtors

their Exemption in the amount of $11,500.00 and for such other and further relief that the Court

deems just and proper.

         Respectfully submitted this 16th day of June, 2021.

                                                     ARNALL GOLDEN GREGORY LLP
                                                     Attorneys for Chapter 7 Trustee

                                                     By: /s/ Michael J. Bargar
                                                        Michael J. Bargar
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Atlanta, Georgia 30363-1031                             michael.bargar@agg.com
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                                         CERTIFICATE OF SERVICE


          This is to certify that I, Michael J. Bargar, am over the age of 18, and that I have this day served

a copy of the forgoing Trustee’s Motion to Pay Debtors’ Claimed Exemption by first class United

States Mail, with adequate postage prepaid, on the following persons or entities at the addresses

stated:

Office of the United States Trustee
Room 362, Richard B. Russell Building
75 Ted Turner Drive, S.W.
Atlanta, Georgia 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555
Atlanta, GA 30305

Karen Scott Greene
Karen Scott Greene, PC
PO Box 390322
Snellville, GA 30039

Bobby Manalcus Wilbanks
426 Ellington Road
Oxford, GA 30054

Kimberly Ann Wilbanks
426 Ellington Road
Oxford, GA 30054


          This 16th day of June, 2021.
                                                           /s/ Michael J. Bargar
                                                           Michael J. Bargar
                                                           Georgia Bar No. 645709




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